Case 15-52430-grs       Doc 74     Filed 05/23/18 Entered 05/23/18 10:21:14            Desc Main
                                   Document      Page 1 of 4


                       UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF KENTUCKY
                              LEXINGTON DIVISION
                                     :
In re:                               :
                                     :
    Theodore N. Prentice             :  Case No.: 15-52430
    Marion J. Prentice               :  Chapter 13
                                     :  Judge Gregory R. Schaaf
       Debtor.                       :  *********************
                                     :


     AGREED ORDER RESOLVING MOTION FOR RELIEF FROM STAY (DOCKET
               NUMBER 69) AS TO REAL PROPERTY LOCATED AT
           206 SOUTH CENTRAL STREET, NICHOLASVILLE, KY 40356

       This matter having come before the Court on the Motion for Relief from Stay which was

filed in this court by Nationstar Mortgage LLC ("Movant") as Docket Number 69; and it

appearing to the Court that the parties have agreed to a course of action which will permit the

continuation of the automatic stay conditioned upon certain provisions incorporated herein for

the protection of Movant; and the Court, being otherwise fully advised in the premises, hereby

issues the following Order with respect thereto:

1.     The Chapter 13 Plan filed herein on behalf of Theodore N. Prentice and Marion J.

       Prentice (collectively, ''Debtor'') provided that said Debtor was to make regular monthly

       mortgage payments to Movant outside of the Plan in a regular monthly fashion.

2.     In breach of the terms of said Plan, the Debtor failed to make certain of the regular

       monthly mortgage payments to Movant; said payments are currently in default for the

       months of October 2017 and subsequent months, incurring a total post-petition arrearage

       of $3,953.18, which consists of 3 post-petition payments for October 2017 through

       December 2017 at $363.51 each, 5 post-petition payments for January 2018 through May




17-007025_BAS
Case 15-52430-grs      Doc 74     Filed 05/23/18 Entered 05/23/18 10:21:14           Desc Main
                                  Document      Page 2 of 4


      2018 at $366.33 each, and attorney fees and costs of $1,031.00. There is $92.24 in

      suspense, which reduces the total post-petition arrearage to $3,860.94.

3.    In order to eliminate said post-petition delinquency, the Debtor hereby agrees to pay to

      Movant, and Movant hereby agrees to accept, the following lump sum payments:

      a.       $643.49 on or before June 15, 2018;

      b.       $643.49 on or before July 15, 2018;

      c.       $643.49 on or before August 15, 2018;

      d.       $643.49 on or before September 15, 2018;

      e.       $643.49 on or before October 15, 2018;

      f.       $643.49 on or before November 15, 2018.

      The lump sum payments due above are in addition to the regular monthly mortgage

      payment due and owing for said months.

4.    The Debtor hereby agrees to resume regular monthly mortgage payments outside the Plan

      directly to Movant for the June 1, 2018 regular monthly mortgage payment and to make

      all further monthly payments in a timely fashion.

5.    This Agreed Order remains in full force and effect in the event Debtor's case is dismissed

      by the Court and Debtor subsequently reinstates his case by order of the Court and/or the

      Movant obtains relief from stay and the stay is subsequently reinstated by order of the

      Court.

6.    The following are events of default under this Agreed Order: (a) Debtor fails to make any

      of the lump sum payments hereinabove described on or before their specified due dates;

      (b) Debtor fails to pay any future monthly mortgage payment so that the payment is not
Case 15-52430-grs         Doc 74   Filed 05/23/18 Entered 05/23/18 10:21:14            Desc Main
                                   Document      Page 3 of 4


       received by Movant on or before the last day of the month in which it is due (hereinafter,

       any of the events described above shall be referred to as a "Default").

7.     In the event of a Default, Movant shall send a letter with a ten (10) day opportunity for

       Debtor to respond, notifying the Debtor is in default under the terms of the Agreed Order.

       If no response is filed to said letter, Movant shall file a Certificate of Non-Compliance,

       and upon filing of a Certificate of Non-Compliance the stay shall be terminated without

       further hearing.

8.     Debtor's opportunity to cure the default shall be limited to three occurrences. Upon the

       occurrence of the fourth Default, the stay imposed by Section 362(a) of the Bankruptcy

       Code with respect to Creditor, its successors and assigns shall be terminated without

       further notice by the filing of a Certificate of Non-Compliance.

IT IS SO ORDERED.

Submitted by:


/s/ Amy E. Gardner
___________________________________                  /s/ Mark L. Zoolalian______________
Amy E. Gardner (93532)                               Mark L. Zoolalian
P.O. Box 165028                                      101 Cambridge Lane
Columbus, OH 43216-5028                              Nicholasville, KY 40356
Telephone: 614-220-5611                              Telephone: 859-533-0851
Fax: 614-627-8181                                    Email: MarkZoolalian@hotmail.com
Email: aeg@manleydeas.com                            Attorney for Debtor
Attorney for Creditor


/s/ Cheryl E. James for Beverly M. Burden __________
Beverly M. Burden
Chapter 13 Trustee
PO Box 2204
Lexington, KY 40588
Email: Notices@Ch13EDKY.com

       Pursuant to Local Rule 9022-1 (b), Amy E. Gardner shall cause a copy of this order to be
served on each of the parties designated to receive this order pursuant to Local Rule 9022-1 (a)
       Case 15-52430-grs       Doc 74      Filed 05/23/18 Entered 05/23/18 10:21:14            Desc Main
                                           Document      Page 4 of 4


       and shall file with the Court a certificate of service of the order upon such parties within seven
       (7) days hereof.


       Copies to:

          Amy E. Gardner, Attorney for Creditor, Manley Deas Kochalski LLC, P.O. Box 165028
          Columbus, OH 43216-5028 (notified by ecf)

          Office of U.S. Trustee, Eastern District of Kentucky, Party of Interest, 100 E Vine St #500,
          Lexington, KY 40507 (notified by ecf)

          Beverly M. Burden, Chapter 13 Trustee, PO Box 2204, Lexington, KY 40588 (notified by
          ecf)

          Mark L. Zoolalian, Attorney for Debtor, 101 Cambridge Lane , Nicholasville, KY 40356
          (notified by ecf)

          Theodore N. Prentice
          Marion J. Prentice
          Debtor, 206 South Central Ave, Nicholasville, KY 40356 (notified by regular US Mail)

          Theodore N. Prentice and Marion J. Prentice, Debtor, 206 South Central Street, Nicholasville,
          KY 40356
          (notified by regular US Mail)

          Fifth Third Bank, Party of Interest, PO Box 630337, Cincinnati, OH 45263 (notified by
          regular US Mail)

          Asset Acceptance, LLC, Party of Interest, PO Box 2036, Warren, MI 48090 (notified by
          regular US Mail)

          Advantage Assets II, Inc., Party of Interest, 7322 Southwest Freeway, Ste 1, Houston, TX
          77074 (notified by regular US Mail)

          KY Collect, LLC, Party of Interest, 2401 STANLEY GAULT PKWY, LOUISVILLE, KY
          40223 (notified by regular US Mail)

          Midland Funding, LLC, Party of Interest, 421 WEST MAIN STREET, FRANKFORT, KY
          40601 (notified by regular US Mail)

          Portfolio Recovery Associates, Party of Interest, 120 Corporate Blvd, Ste 100, Norfolk, VA
          23502 (notified by regular US Mail)




__________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.



                                                        Signed By:
                                                        Gregory R. Schaaf
                                                        Bankruptcy Judge
                                                        Dated: Wednesday, May 23, 2018
                                                        (grs)
